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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11 ACQUISITION MANAGEMENT,                     CASE No. 2:19-CV-06814-DFS-KS
12 INC.,                                       [PROPOSED] ORDER GRANTING
13                                             RETREAVER’S MOTION TO STRIKE
                      Plaintiff,               EXHIBITS G AND H TO THE FIRST
14                                             AMENDED COMPLAINT, THE
            v.                                 DEFAMATION CLAIM, AND
15                                             RELATED ALLEGATIONS,
16 RETREAVER, INC., and DOES 1-                PURSUANT TO FED. R. CIV. P. 12(F)
                                               FOR VIOLATIONS OF CALIFORNIA
17 5, inclusive,                               PENAL CODE §§ 632 AND 637
18                    Defendants.
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 1          The Court, having considered Defendant Retreaver, Inc.’s (“Retreaver”)
 2 Motion to Strike Exhibits G and H to the First Amended Complaint, the
 3 Defamation Claim, and Related Allegations, Pursuant to Fed. R. Civ. P. 12(f) for
 4 Violations of California Penal Code §§ 632 and 637, and finding good cause
 5 therefore, hereby,
 6          GRANTS the Motion and ORDERS that, for violations of California Penal
 7 Code §§ 632 and 637, the following be stricken from the Plaintiff Acquisition
 8 Management, Inc.’s (“Acquisition”) First Amended Complaint (“FAC”) (ECF No.
 9 25):
10           Exhibit G to the FAC;
11           Exhibit H to the FAC;
12           Paragraphs 38-52, 57-65, 72, and 75 of the FAC; and
13           Acquisition’s Sixth Claim for Relief in the FAC, for alleged Defamation.
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15 DATED:_______________________                 _______________________
                                                 The Honorable Dale S. Fischer
16                                               United States District Judge
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